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                       EXHIBIT A.




                                                                    . .··ct
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           FirstJY)i~~e~~~ai'~',,i~rrget,dernographics.
           Firstlyj'sist~rs.,se;cqlldly those who are
    ·,·... waiJi~Q~fl,dt1~f~:t1.n.$~re.about attacks
     . (e~p~ci:~lly~.cil(.il.iaQllhirdly media _
    ;..,. cQr~~tiQ,niAf4'1181]1:~~i:, · •. ,i ·,·
    ! :~ ,   "'.if~ .




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             For:$isters;, 11::VVoulc:lfecommend a series,
          vdPlube if P~~sibl~,just about Islamic
         ·reffl,ihclel"S~ri~ livirig)nthewest (and why
          liVi.Og JnanJ~lamic,~O,~iety .~as unique


    ~;~~es•-1,Li" ·.·
Case 3:19-cr-00218-HES-JRK Document 1-1 Filed 11/13/19 Page 4 of 44 PageID 55




                                                                                     .                                                                 .
    . For sisters, I_ would: recommend a series, · -.
       YouTube if possible, just about Islamic .
       reminders and living inthe west (and why
       living in an Islamic sQci~ty .1:1c1s. unique
      ·advantages).




          YesJh.e b~.~iutin~~tion wOIJld be to have
          a .weftl),.S8fi~ij!~j(~Q~iA ifa1>ossible on-YouTube
          tha~f'.\NO,ld ~~$t): ~9~· it collId be a series
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                  •      JJ_• ".'.
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        u~~~,,.th,ti,b.eil)gjihad. THIS part                                                                                                                              .,
           spepificijlly\should be. outlined over time,.,
           and~~houldfocu~ Qnihaving empathy for ,
       . the·&.mo,ah.,_ij.nd then:t,atred for the kuffar,
                                              a
           .bul1i~ s~tltl'~Way1by exposing their - .
    . ·id~q.Jqgiqal;:~.p'.$ur~iti~!;.
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Case 3:19-cr-00218-HES-JRK Document 1-1 Filed 11/13/19 Page 5 of 44 PageID 56




       Well, when it.co~e~ to .brothers there are
       two things :with ttlat,.:o:ne. :P:roper vid~os:'
       are needed; can ~it}Ja.in ifa!;ked. And
       better Vid~~~,:-,~,:~,il~md. "Yhyjihad is .
       nee~e~~ _. ' it3\:j/;t;i(           .\.iflf
                                 :;fj.W: \ -. ;; •-· •·- ·• · ··· · 7:1s·PM
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       This isrt!t•i~~p;e.rif~~yi~~;'.its;.c,ommon .~-: __-~-
     . knowledg~ ·(· \ . .\ \/ · .. ··· · ·            ·
Case 3:19-cr-00218-HES-JRK Document 1-1 Filed 11/13/19 Page 6 of 44 PageID 57




     · Specifically within the US, the video
    ~ should focus on the current socio-political· .
       .climate, that being progressive society ..
        and,social justice, . v~rsus traditional ..
                        •   .   I   'I   ': .   .   ,            ', 'c~       ,   •   J   - 1




        cultural not.ms::
                                                        ......            -                 ... -,•...
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     ( Chats.- : .

        How observ~nt of you.




                  I   .



       Nowthen

     · Whattyp~ tjliYid~o1(t(:) you.tbi~k Js>rnost
       important td!;ij~t oUt'fi'rSt? ; • ·             ,
Case 3:19-cr-00218-HES-JRK Document 1-1 Filed 11/13/19 Page 8 of 44 PageID 59



        Chats

        I identified what types-•ofvideos s~ould
        be produced
Case 3:19-cr-00218-HES-JRK Document 1-1 Filed 11/13/19 Page 9 of 44 PageID 60


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                                                           -:;,,, Con~.e~t1ngf·••

       You will have to make ·it




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                    ,dllflm~ (wfl,il!P1, '. ' ~:; :_.',/:1li;!jf~[¥~~;r_;\~l~.\: t.~)f):·.·
                                                                                                    "!l' ,r,c:;.,, .,        ••. :T : •.:;>.:>-::·:ii
                                                                                                                                           i ·, c-i';, 301PMV/
                     I   ::~l31t:'. t'" :.;:;\)ii: :~Plli:~t .,;-~ ;::t,i'. fiJ:-.·;.~';th1>·, t 1;!; ;.~~,~)!K;!~>
                                                                          1                                           :,. ::: )C?,·•:';'1;:            :\;:t: ~ '. ...·_·. ~-,~~-
       Yes.\lllell, Wh~i~you)ive in kuffar lands you
       wiU:~~bidEr b~i~tt,eir r~les untH you no longer
       need~ to~· -· ~.     · .· ·     ·
Case 3:19-cr-00218-HES-JRK Document 1-1 Filed 11/13/19 Page 10 of 44 PageID 61




                                                  ••.I:: ~-•


        In any case, what did_ you have in mind
        regarding the vid_eo concepts discussed?
                                                               7:32 PM




        What,\VC>uld . ~oti likejo knoYI?
                        '"
Case 3:19-cr-00218-HES-JRK Document 1-1 Filed 11/13/19 Page 11 of 44 PageID 62




        Creating them isn't the difficult ·part, .the'··
        diffi·cult part is in presentation~ .



        Firstly, let's a$su~e. y~u•re affiUated with .
        someon..e, W,hose logo·,·you c,pQldn't use on.·                                         1




        YouTube bepause/ :ii::would ~ihlm.ediatf:lly ✓~----
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                 . ,..' -.. :,.~. ;:· 1/ !;;(··-\•:<•· 'f-:}.~. ·~::t ~-?-~.,.·.\ ., ., ·.>..
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        are'tj~~t;)Ne>,,l~\reg~·ir~J,moredetau.·. · .
          ~~,,1                  •   •                                                                :·-'   ta          •
                                                                                                                                                            7:37PM
                   ~Ji
                  -~-.....-~~
Case 3:19-cr-00218-HES-JRK Document 1-1 Filed 11/13/19 Page 12 of 44 PageID 63



         Chats:
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        Just need to understand what works best ·
                     .                                                                          '           '   '   .   -   .,




                                               '     '                                                                           ,,
    ~ Yes well that being the c~se, ·let's look at
        regions, what regjor1 specifically wou·ld .
        you like to focus on first?



        Because ihiitwo,d.;ijitentpeople have .•...
        different,i~e~IQgic,3,i,:i~pproi\lches to · ·
        confli¢t':and/faow·:t,i)r~solve··s:aid conflict.
                   •'•   ,•.•    ••        '   •(        ,••       •   I              •;_1"•t•;.••-~•   '




                                      -~                                                                                          .



       .Al,rtgl)ti V!f~_!1[.t~·ijn, ~~i you targeti~Q •·
        getji!f:ij1·a~di~mte:C1tijYsHms specifically?
          ;•,; .";y '?.: ~.' ;                 •:.   ;v.       .           :   . .·    {(t:·/, ',. ·• .
Case 3:19-cr-00218-HES-JRK Document 1-1 Filed 11/13/19 Page 14 of 44 PageID 65




          As such, you should focus more on an· ·
          audio approach ~nd make .a video mainly
      i   about the very ba$h:s of islam and how to
          regain your faith. · ; -· _, ·                                                                                             ·
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                             t make~ y()U s~Yt~~ti                                                                >: .
          Whatm8keStrtle saY:What?                                                                                         :7:53PM•···




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          Right)hen·;~.-:f_? /i;a ei-A.\: ·
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          So aO~~vr'.~1:iYViu1t}L~ipus. on ·making
          ei~he;~. '.$0. QiIO~t~\~Mi,~ .fi,es Pr. h9ur long
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          au~,10.!i1•:' es. 'l:I 11:1-:.. :- \.::,<r ,~,,.J.t·
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        Regarding the rand:corporation and their
        plans to westerni~e: islam

     , And ihen to:progress forward with some
       information, about,how the CVE began, .
        how it becalTle,a ~t~t~.~ependent p~r,tn(:lr
        and its endeavors·eSpecially .the ,#Thirik
        again turn-.a\Nay cantpaign they
        attempted-~~nd.-fa_il~d,:horribly.·
                    ·= ·H:. - -,
                         -       :. .: . . . -
                             -:·.;_:.. - ~


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Case 3:19-cr-00218-HES-JRK Document 1-1 Filed 11/13/19 Page 16 of 44 PageID 67




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          Th~~!!:i1~,~1,~~~~i~~;:;\tl1~,foM

          p~ij~q§~J;,1~~:~~.~9l,tl,Jf~: no ,gr9up rl.o-r done.•
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        . JL1f 11i1!1 1 iil!J~}I~
                               li1i,~fri~~~. said.· . · .
      •· Sd'tiifitJa§l:itWfitilihc;J(I)                       dttttave done ·
              ,,~~t
            d'1fl~ft_ :c lii::''lf; 't' "; ' .•!:1:J1f~ .1. ' C( J: .• .· '·' .· ' '.·.· ' ' ',.
       , . :';':1\
      . ,a~          1{   1f,l~J'<>~ !f't.t~ ,er./ ~s of now .·


       .·.·~flfllillti ili~.!h!~;~"i:~~~;~~
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Case 3:19-cr-00218-HES-JRK Document 1-1 Filed 11/13/19 Page 17 of 44 PageID 68
    ,;_~~~-.=~:r~~s:
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                         7
                       ·,·
                         '•.




         This entire dialogue, is nothi•ng more than
         conversation of p9tential ideas and. how.
     ~   ttJey would work effectiv~ly. No e~pert
         advice and n<>thing_.that·coul_d· be
         •misconstrll~d for-·a 2339B charge.·
         If ·he willsJt!_:-~s:14PM .-
Case 3:19-cr-00218-HES-JRK Document 1-1 Filed 11/13/19 Page 18 of 44 PageID 69
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        Neither of us are of.any useto,anyone in
        cag·e.

        It isn't aboutfear, it•s ~bout· se.curity._

        A  m~n doe,sn~tbqy'.·:~-;,gun_::b~c.c1.use he's:
        clfraid of oth~rs. H8,~uys ii 1:oprotect
        himself::.and!: otherst·rt:,·
                 . ·.   •   · 1.   ...    .     ...            ,.
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        Is fif~f:~nd f~t~molt\~n explosive video
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                             LJd . ·i • t.~3PM                                                    I


        ::NoW the. creation iof:such a· video and
         ~eQ.~~~gJt:~~P"Vl~~:lt'II b~ lJSed for
                                                                                     :· -~   ''
Case 3:19-cr-00218-HES-JRK Document 1-1 Filed 11/13/19 Page 22 of 44 PageID 73




          .s~dQ~~{ s~dh\iii,id~olmust show proper
     ;,    Y.iet,~,r,J;; :~XJ>:~~~,~~; ~ijipmeQtgained. Not
     -~• ·jU$t~ltffi~)a·Jll;o'.u.~t:ofj~xplosive
           . '·, i\ij: !f-f ',. , •,;: /J:,-Jl {,'t
                                                    yo~•II have
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          aftetii(s:~re~~ion::bfr.llhow: much that
          ~p89Jic arnq~nthil~iin demolition power.
    ..    Tfl!ij:~hotiJdi ij~                      do~•f
                                    in yields the common
          rrtan:X¢~:n:~-uJn~tr$tan.~,)example,
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                      <.,:: :   ''   ,l·   _::'
                                               X amount
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                                                   x
          stor~rf>uildin'g,, amoµnt 2 story if place
          pr,f>.tij.!Y:,, ,tj~p(                        a,~21f
                                                 ilt fqf~ 3 story       ·
          bud!d1trng.:. :,:f tJ. -: ,_ ·· L?:.:I       \ ··       8"16 PM
            ·,:., '.\:J. tf .'. ·: ' ..' ''I]:, ;L: '       -1}        :f       1
                                                                                ·'·,       '    :        '   •
Case 3:19-cr-00218-HES-JRK Document 1-1 Filed 11/13/19 Page 23 of 44 PageID 74




     ~    Third: such a video needs to show:two
          things, how to o~tain .the catalyst
          needed, one being ~ulfur~c acid (easily
          obtained via car batteries. } the other
         ·being hydrochloric~ acid. Easily purchas~d .
          in a varietyofwav,:~.ithintheusa.nd ; ''11,,-                                                                                                                                                                                  ~1-ii~


          SOME EurOpE!.an.: co,unties. :My-                                                     r.                               •    •              .                                          .



         recornmenij~tionjs :the utili;zation of a·
         scho~I, · cjtd~ to b~ ~:.scie~ce teacher ·
         therer~nd~P~~[tCJr~~iij., eClui:prnent with an
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         The vi,~e0,·irj;::qL1e~tiQ~.shou_ld.be a s~lf ·.
         anaIYfi~.'¥i~,~~ pa;i:pp~~ntial[war crimes,
         the s(~rid~tij~;Qf ,iyij't:fare practices.·
         histQricaily                     i,~        irta :p()nteniporary .setting~
         And:;¢,'Qfllg:arrt;:ti,e:i~\tltP~ . . Fr()rn there a
      -. conirasrJsts,n.iededt;]~t•s ~ay the US for
         ex~rt,.PJ8. 'Ar;i~\$t,,0~!~.·focus on again              1

        ·histQfi~81. V~;i~9~1:e~pprary. I'd use the
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        What you seeabovecJarifies c1II questions
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        To be frank{~:33 PM.·.

        It is easier~t~rte,:n~fmi~,billary, ,in ,this .
        convet$.~tii5ijl},{ ·:}'[{lft ·. · ··. ·: -~:33 .PM ·.
        AskiQg.fc,(\~lltitfC~\!~~ :~m What is detailed ·
        •   .        l,: ~:>" ~, . , . :, \f :::·:·; - .. : . . . .
                .._,,.: '.,··t··••I:··, '.,v,.                      .
        1s po1n ~ss:,r:\·.< .. ·...._:';.<                 s:33 PM
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                  .. -   ... .'       . -•-.-:            '_-·-,_,·_:,              :            t·               ·-~   .>:-:~,,- .. ~:/~i:•/::.?~~:t/t~-~~:·:. . >_;,:~/r:f)~~-~~fn~::?'/,\'.'_'>~-'.".~< . -:~y.t~r!:t./~\:~tl';-;-.:•:~•:'·..:,)~·:::.>~-; ~;·,:,_ ·?-· '. .~
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                                      nraU.inWitfirtlllfit~Wi~l<S'VfdEiO'YaSfirst._- ·


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           A back ya.rd is ni~e ::~ nd s~fei.-:: • -,..•s:43    PM·_
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           Or p~rhap$ ;a>h$ayi_ly:~opde!dr~r~a that .is ·..                                  1




           unlikel.yto o~tchfi_f.8:/ •·_··_ · _· ··       :· ·
       .                              -          ,   ..                 ..              ,.            .. ~          -      '_   .-. '                   '   .                 ,.                              - . ., . ;



           If YQl.liiir.J·l~tp,~jf~~i~ frOJ11Jocal ·_ ·-• •·
           cont~~tt(j~i~i:~rlii;l,ba~don~dbUilding,
           that :~9tJld ~ISb' be; great. ··•-· ·




           HQ.~~~~$;.l~!'~~tf~rt?:;)16.i'M.·• .
                :. ·~ll-r);:i :··t. .,.                                       l~ • ::                 l '.11'           ; ·• : ,;_ .'';,· {                               I!i          ·'t_·: . . .• .•..• _. ,:, ·.<      .·       ·:'   '   '           .


           SC,i~pJ!liP. ·¥'-lf~ff~ij~b is l'le~ded when
            .      ..,       . •.•_·._-. ·;;:' .:·                                  .,,                   .-,.... ·:' .·-:.·'.:, .. ··I: - -.                                                    .           ·:      .          .                     •

           s.otntone 'i~~!~t•er~l~~·er,s,~_e-or cle~ring
           tre~,:~Pt~/ 1tji} : :J)J( ·'..               ~-
       . F_:.o:r_'
             :,·     .,:
                                   m~_-;_.,:~_-._·_._tl_;tlit~:p
                  ~,_._i·ix_._r_;•.·.~-'
                             :g:\' :::
                                        -        11' '.1 ..... _ ' ·,,:_:ta~;I_
                                                               ,,            .],,    :, ·:
                                                                                            e inr_·._vemen
                                                                                               .. . . . .
                                                                                                             whO
                                                                                                              .   '
                                                                                                                    are"> ..                ,_·_.te_:_



        sta·tv~i1:g ,rri:ighfhave u·se for such a video
       ·as ._tlJ~y-,:coul·d,·: get rid ·of aban~oned
      - butlcU_~QS:$Q                                that tt,~:.:Houthls
             .,~.> :,·:?}:· ::.-.1~, -~·: .:.:·; \1:: ·-: :·:~. ·,. -.·., -... :}.'. ::, ,'   · .,    _
                                                                                                        cant use:
           the.m~1irrtri,b~I
             ',· Ji.~•.: ,·)~: :,> •:-
                                       '-warfare·.                              ;,I               !'.c•,'•                                      ·,.
                                                                                                                                                                                                             :.: : .                              .               8:47 PM
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        That way the need to have peace talks· or"-a
        ceasefire drastically increases~

     ~ Or let's say:~omeo11~ in; ✓Kansas has a
        stubborn tree trunk)they just cant affor~
        to dig up, a~~um~ng,:~:IJey ~ave the · · .... ·.· .· _,,1 ,
        propetty size.for it/:and clear..i~ With their ·.,
        neighbos:s t~~y ce>~l~ieasily just blow up
        the tr88'.:tfi.l~~;theA'ricon 1:he area.. 8:48 PM
               ~ -   . . ... ·'




        LeJij;Jay, ,soJ;ll'.eone1~ad , ldonno these
        gr~~t :medic( ideas. f<>r , abu Saif or the PKK
        or.th~
         ' :J.
               d,A;otany.fc>r~ign
                      r: . l ,~ .'
                          'I      .
                                   terrorist
                                    . ·.
                                      . .·.   ;   '.   /



        organizatidrt·:'.
          :~-.--'J'.·' ,... ,. . ·:: ·:.~
                                          · Yt.t;)
                                            :!··~•;t~- '..t)   1;
                                                                    ·.   1



                                                                         ,:
                                                                              '   ·
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           And this person tr:uly wanted.Good. ·

         He wanted:good for :wh~.tever cause, not
     . . as a inea.ns :to harm others: but as a 'means.- .
         to end.,a war or to.end skirmishes by
         inteHigent: _.,attacks,/pl~nning etc.·.. -. s:sti -~~           .'                  ,~:-        ,: i                                       :· \_" -. -             •                • ~-            .   l ·:.               ~
                                                                                                                                                                                                                                         ~;t:
                                                                                                                                                                                                                                         •·   , -~.


                                                                                           . t.T · ~· -; .'                           . •',. -·, ,1.· __            : ,-.   :    .   •   ,   : :·                        ;



           Now let~s. '.g~~~~:~hi$:~gµy a.n~roe, we'll call
         · him stever \,,:t'
                          ·:t:·,: -~ '.\'.::\'         ·. ' j,
                                                         :      . '·'.• :~
                                                                           8"54PM
                                      ~(. ·~f·t/r~~ ·. . , .;, \ \, .·• - . • .   .    7                    1




         · So Steye, ~;~i,:·th,iS:df~~t idJas. Not · . .·.
           b~cau~e ,;;a~tcQ~e e1~~,thought of them. But
           becat1se;:ihe~,$~i,0.1Jtsiiie:::_of 'the. coriflict he .
                                   :\               ••: • <•:- •••~                            I:      ;;:,,:.             •,•   0•       ,   •       ,•:,        ,i, ;:- .                  I,     ,   ,,                       ,




          can s_ee t"lng$,a-bit;differently than those
           in· c:qftlb~t ~lt1Aatiori$( .• · ·
              .             .;          •.•     '            . ; j . :,                .            ":;.11::1 ': ,; ..· . .,; { ·.t:\,.
                                                                                                                                                                                                             · ·



     '                      .,      .         ·:'.'           -c:    <~; "/: :\, J . . .. ·::                                                 f;;       •it,:::··.              ' ' : ·. . :: . ' . •.·                                          :c


          .R'3Gl:9~$-t~~tb,~(!~fi<K :l~}~teate:vifj.eos·
                  -::··              -ri:·:~;rt·.·;~r:.-,-~.r:. :
                                 ·\:.~; .. ~:.... ·_··;·. ·)t:·'.:/:1                                 ~·/':··-.<!.~•··,           .
                                                                                                                                                                                                                         s:sa PM
                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                                 ,.


           NqWj,~~J~Ig~ts On:~tlegram, and gets a
           cotjt$Ct tt\r~ugh a c,Qntact through
           anoth~r: c.o.ntact
                      !'.~ .'/_; ~-'. (, . ' '
                      .;          _-'.~~-t·
                                               ·. :;.: '\ :· .·
                                                  ; . ,\;
                                                      :.;-:··        .        .-                                                                        .i~~:~~

          .               > J'      fi;                  :c : : • ,'., : (•                                 ,1   i ·....          . . •.          ,J re                   >'         .       .• . .              '                                    "
         . St~v~,:::thi~~ing he~U;b.~lp change things for
           th~jl:>l)tter/. With g6od.intentions •
                    . •          1:                 ··                        , '-          r __      ··•         , ,_                ,           :          ,:
                                  ::.··                                            .                                                          .•;             ,·•     .
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                 Asks this PKK person to_ go ahead and· ,
                 create some spe~~fictypes of.videos for
                 him.                 ·_..                                                                                                            .    •''                        /

                                        •           '                 I   _:    '    '.!,   ,!_            - ''            .-        .~..   ,·-~./.,\./:_:,',:r:_ -• •,    I      .   •,•;:   ,-:.    :   <•~ - - - '    •' '             ,•••             :',
                .Now while he:'s reg~e~tin{:tand going over
                 these videos ,                      8:slPM.                                                                    ):·;xr · .·. . .• . .
                                                                                                                                            ',: ,;\              ..                                  ' . . .·.                   .               .··. ·.     -.(J, __,,_.
                                                                                                                                                                                                                                                                            s




                 The perSCJdil·~,quJ$il~n, ask~questiol1s •.
                 subtl.Y,r.
                               ya                         V'j~~\:area.ya.from,
                            ·.· :: ·:·,. ·ti' ·· . . . . . \~ :.'.•,:'<··· .
                                                                                    ::~now
                                                                             . .: . .. . .
                                                                                           ·when.
                                                                                             . .
                                                                                                  · ·~
                 is a-: g~Q(l.till:i e·:to:t~I.~; :H.gw:i~rwork?wl1at -                                1




                 do y~1;1~;~.t,t?r\,,otk)(: :                                 ·
                 Etc;:/t&1~ft;~L .
                 Allg~~?~>~e~_an~:\~~n. 8:_se                                                                                                                                                                  PM                    .·

                ·1:H~:,it~.ad~iflilit11l~~i•lin, .lei'$ s~y bob-
       ·-·.....· ·. ~{;J[f~;[}i'.'}}\{'l](~t}J\l,~~;;;;;''ki .·• . . ·. ·?>; •                                                                                                                                    1

                                                                                                                                                                                                                      8:58PM


     :'!         A~i#'iiji~l-!i;t,~tl~~fi~e
                 speaks,oi. ,;,
                     .. J:1      /.:~J:.f· ::'. :(/:Ci~'.i::.{
                                                                                                  'lri• .;         · ...
                                                                                                                       >:-.:
                                                                                                                                ,      ::i-;,,, ,W-:-·
                                                                                                                                            .r:ifl'tt\ . ·
                                                                                                                                                                                          Ot'.fhethings he
                                                                                                                                                                                          ·     ,• · · · · ·
                                                                                                                                                                                                ·· .. ·
                                                                                                                                                                                                                         ·   8"58 PM
                                                                                                                                                                                                                                     ·
                ..    .     it~\ :: ??; <-<'.:'-:'._- >~:•:·: ::·>.;: :··':ii,:!: ,i .t:;::j.: :'·~~:'. · } '.:, .... /::·~                  '.~if'.~>~~::'. )i<"l. . -'       .- -~ ,.·.'. :~\ ··/,·,·.-. . _ "' · ..       -

                 Bo~;i\lf{,C>·41.dli~.itlsO~j,ljing <iil<8 0h hey, so                                                                                                                                        11


              yoµ :~311(:t~~~e ex~losive videos, to focus
             -on<J:,1:.9wing t,.t,·:buU~ings right? Well, what
              kjn,~:i:b~il(t,if1i.gar?~~d you, would you blow
             ·uP, if.Ya•cOu'itl? ISi~i1two story or a one
                     ~tq~ buUdiQg?II ,.· ·, ·
                            . ~. _;     ·, ·j,j         .        -~       .,: -: -          - !-   .          .

            :             ' "/: ".\: · .. · • '; :··                                                              :.                •· "r: •. : ;'                                        . ·. .
       · ~At,cll,~'1 G~1U.ff;,~cst~~,j1.~i:IYS, u· vven it~s a two
      · .Stij1~ 1:•li~~;r~,b g~~~i~()n to 1~ay nweH, is it a                                                                                                                                    1

           - - - - - - - - - - - - - - - - - . - - - - - - - - - -1,.1,:.:,-,
                                                                   ---        ·; -
                                                                                 . " - - - -- - - - i•---• - - - J ~ ~
                                                                                                                                                                                                 :,
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        And of course steve says, 11 vvell ·it's a two··
        story•• and bob goes· o·n to say- 11 well, is it a ~
        gove·rnmen't:build·i~g.:,o~··J1.1.sta. residential ·                  •                                      I                   '                   ,       ,-,       ,·



        or what?" \                --· . ,-~., _· .·.; ·

        So th~n·stew:~ says•1t!sa,off1c:e9.t,som~. •··,1~,_· ,· ·
                            '.         i    .·    ·.          .           .        ..    > .. · .                        'j.        'i' '>                           ·.. ' .        •       : . . '.   . ..   . . ... .   :   ., "


        kind, nothing,Jn,p·9rtant-and then bob · . . . •~:
        meanwhil~ $aYs 11wel1,J 1m making the
        vi.d~P,t~~t,:.~~1¥1~:.Y,A,~iOk~~Qi:~µy.··some·of
        the_s.tJppHe$.iZJtfachl~ijte_sol:youcould -· ·
                             ,:_·•"~."·,-. ___ ·                      ... ·-~~~-,.·::~-ti•_·"                  :.             ·::        ···:•,!·"                                  ·.''                          .




        mak:~ji: srhijUhpat~h:·Qf ~xplbsives. on your
        owritfr:1Ari~ii~~~r;t
                       ~~\fl-~.J~/. '.~':_: ;
                                              $1~Y~/say$ sure. . ·
                   :;·\tt.i ~>-:·,_?,._;·: :·::-\          .•::>; 7    ··'1,;·,;                           1<.:: :\•, .         --~·:I   ,··.r::.;                                  1
                                                                                                                                                                                        '
                                                                                                                                                                                                         9:01 PM
                                                                                                                                                                                                          •




         N~;Jijihi.iJ;lfi<>\iv::!Sieve gets a knock at
     · his ·(!ctor id~i~ ,lat~rl~fter bob confirmed

        g~,
      ·· tb$1.:ii~~8!:,li.ij~jJJ;~,fo'=lterials, and steve
                            1,~~                      ,st,,:1f~.\~~:I~t,~1e:t$1on char~!!~M .
                ·\: ·tf··:'L)·. : ~::. l~;:':t,: .1 .. :;, i:j' .. T '. :.: .. :                                                                                                            .

        Tu.trf§/~~t\pp:~;\Wa~·:·~.Q.:tf. ·;r~1 fi~~. d agent and:
        thdl.J9,Ht•fli.ij1U'td.Q~~:'Steve at least 20
        y8a~.in ·pri~~ bed,Use steve might be
        da~g~.r.oµ~_.JN;PW alt~ough steve had good
                     '·          ,\·:•· .:.                 . • ·l·                     !,1· {', ....               ·· ..• ·.· ·. . . 1

       .int8,f1Ji~u1st:t~~ poir,fiS hewas talking with
        a 't=itQf so th~t~utofflaticaUy gives steve a
        20\,!Y,a.t-min_~n,lum sentence for trying to
            ,     ·:L.           ;•,        .,:   I    '          .     ':              .i      ··•·                     . '.                i.                  .   .


       ·prq¥i,e aid, ·tP\i;~:.f~~~l~n terr_orist · . . . .
        .       . • ··;[),, f• •· ..                                  e<,•'.            :Ir :. . '                       J          !i       •i


        orgcJn1zat1Qn\
          .: :~ 'r~~
                       . :_'. ·· ·         1!                                       :;•- ,'.:.;..      .
                                                                                                                          1 : •

                                                                                                                          t
                                                                                                                                    ·h ::
                                                                                                                                     I'.' ..         -~'..       .         ·
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                                                                                ,.r



         On top of the charges: for having explosive                                                                                                                                                           •r.·




         mate.rials on top .~f attempting to provide __ .
     · · some form ·of supp0.rt ·_ ·
                                                                                                                                             --·               /



            .Now steve ~tthis ~oil'ltiS fa~ing, prObably ·
             45 to 50 ye~rs in. pt',i~f)n,maYbe 35 if he ·'.'I..
               ,., . -_.- -_ -1- ,._·:d· - 1:... •· ::                                                                                                   . . : '_             . - -. .          - :.. -   ./
                                                                                                                                                                                                               -~~>
                                                                                                                                                                                                                ~·-
                                                                                                                                                                                                                    _
            t a~esa.P:.e@_o,         1l~a.•>+::·             ,
                                                              ---c




                                                                     -,.·_,,   ,,I      "l,   --•-·.      :· ·:-1,_lj, :.
                                                                                                                                                              · _.               ·.      . '~    9:04p1v1             -~\
                                                                                                                                                                                                                            ;ce




            Nd~1t~·~".~:g~ijli''t~iliJ~ 1:liis one last time so
            we,~~:•:.c1~~h.11ount:h~.aO.he in rieed here not
         mv~~ttr\t.:if~i~i~ti ~g~~,-~s it does. ·.•. --·-
     ·;, .. ·Yltt!ii t, {''t~:fi;/ _'_,'\\: \';:·< _· . ' / ,_ _· ·. . .·.... · .
       ' DQiji::~$~i~,~?i~v. 9~~§1;ionsithat you dont
         n·eecJfto.}Ndf\que~tiQn :,_why in instruct you
         a c~ttaih~c:1.¥t.Witt-!;,~tmost respect ahki,
         the~"t!:que,sti~flS _yo~r: asking are not only
         tec4Jq~, a~cl;jij1Jasteqftime but frankly _
      _: annoylngJtb.ave- no ego to be played nor
      ' .a n~~'ittortnoney
            t~:~.~.'.:·. · t.~...
                                           QriJa:me..
                                  . -- .. ' . :, ··//
                                                  •    ~;:•                                                                             j'                      """


      . -        .-~'.:_~:. -::~~:~-   ·: ·:: I.-·-         . :_.. ; ·{~~.                             - .•·. . : ;'. , . : ·;                            -           ;   .


            So;~~enlt~ll:.you ~ctmake whatever, and I
            ,cl_aijj~
             -. ',•· '<- ''.)~\ •:•
                                    ·<wll~ti::Jf's
                                        1   --:< - ~.-:•.
                                              .       ;.;
                                                             fti~r: .:W:ho
                                                                       ~
                                                                           it's.for and what
                                                                                      'l,                '.-::   '              J            ,'.,        .

            the:fpcarpoi~,ts
                      ~ . ~:-~ -~- ;. · ~-:/- '·.·r~.- ·~·r,
                                                             aare;/That~s
                                                                ~--,_.
                                                                              it.:     9:07PM
                                                                                                                     t   .'./   '. -,               -.
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     ·· Nor question:ahything I asked.

             EVER. ·9:07-PM
                                                            ,              •             ~,.,             ;     ·•               ~ : l                                                        .,.._   ~


      · Becau$~ l~rrfnot gQiQg.to ~rid                                                                                                                   up like steve~--                                 -~. ,
                                                  .                            . -:·\:,                       . . -:-;: ,                    .   .                  .   · · 9:07 PM-                              .
                                                                           i           !:-1 !:f·< ·: ·




             :~:::!~:-:;t,;f~li?~,~~,~·1·•sai: : ~ .
                       ,.        ,::·-: ·.·,.                   ,,. -!:.:,               n· :.; ,j::. : .-. ,.;, -e>;: -:;: . . , ·: ;: . -
             Youttq;_fl;lttt'ti}ti~h::;~~~~l~an ta:lk·:·m·ore. Other
             thanil~iJ..Jijijf~~·rt~J~ing. rrlpre to say here                                                                                                                                         ·
              .. '•. . :-¼~~(:0 ,•'.· :tn%;m.::;/ ·,':,\JJiX(;•), : ~ ·:... : . .                                                                                       . 9:os· PM
             1 ddri\1
             .. '._.. ~!f;."!\~ '\
                                             fiki):~tilai~t~ifi6ns.
                                                   ·b .1J(:.: ,-, . : .>t ·.t: ·

    .,. ::,:t:;~.fl.~:tali~:•re;~µrstionin:
                                                                      i_                                                                 =                   -:.·




                                                                                                                                                                                    : : : ,._~---....,,.
                                                                                                                                                                                0
     · ·.-      -~x.   ..l       '.~jH:·t·: : <rt:.f,;i:,·:, .,_ ': '.t;'ni ii':•) : ·. · ·                                                          ·     . . -_ ·. ·      ·            ·
        ·.Aifrt~tilt~vit.iffl_Q . UP\~i;t:r~E!"tr~nk is the same
      ~ ~$-~~-_tIT@n_ b:1.iWtng·(J,p·}(~buUding, the. ·
          .- >.. :•• :r:-:,, :: : , . · ·/v ' . - . : -r.,i ;::,, •: -_ · .. _:.-· .
                                                                       U.ff,~tEfl~.~ same ·
                                                                               r1 ):

             ~~tf;l~ijah~f                                                                                                                                               9:os PM

             Arld,hf!.;p~~-~\,~s ·to,·~c;quire.those
             IJlci\~~i$1$ ~;~;\~l~9:t~8 Same. 9:09 PM
                       -- : ~.    ,... ; ·    •                   '            ,• :·     ·1 :: : ~ _'. ~ t           .         :. ; .




             N().~:)!Jit,le~::~t notJH~t                                                                                                 building has people
             i~ i\,".'.prtth~t:;ir.ee
                  l_c ··:,- . -. .:. ,.·_
                                          h~s.:~iermites
                                            ._ . ,
                                                         in it, doesn't                               ~                                                                                               .
             .·m_aijt¥r.:Jn
               · ..-, · ,;L
                            b<>itb   sceri~rios
                              ,:i, ·. . . : ·
                                     ,l'
                                                     the build_ing and
                                              ? .· _ . .· ... -
                                                  --__ ..       '.:!           · '.
                                                                                                                         1
                                                                                                                          :'                                                                         '.;./
                                                                                                                                                                                                            .
               ,~~ 1l:f<:\8i$l~~p;ar~i~!$troyE!d ·               9:09 PM                                                                                                                          .· .• . ·,



    i~~~":,~~~;i\L.4~i,:1. :.,. :~----                                                                                                                                                                     ~
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     <chats·..·                                                                                                                                                                                   I_;.-,       ,• •



        the tree stump are destroyed ,·

        Now you go mak~ my video.                                                                                                                                                                                9:·1.0   PM -.
       Or rn out you right:he:tr~/~nd flow as .~
     ' federal agent        .':
        Andi dont,g1fi~,a;~l~i1'~fllpk:·what yoll. •
        have.tQ ·s.a_yi\/ · :t , . ·•..· · ,. . . .. .
                                                                                                                                                           ~-" ·<.!
                                                                                    - .•.        - ... ~~~,         • '   •       •        ' --.          .: '     , I•




        Or jf'.'~~1'1.~~\f!J6i~~~ltvouches for you
       .... tu~~~- \jt .·'         1
                                                                          ;\Jt!)t{~/---._';/.': 1, \.J{'.<'·t ·.: ,.·. : . .· .                                                                                            9;10 PM
                        : • ~:\;,.:<? ' '. . •{ -.. ,                                            ;t; ::: \, _,.                                      i.i \:'              ·i. , : _. ..           ·.
        "'1Y ffi~l'.1~ a:b,l!JsiJ·,qi~d,becau$e he didnt.
        list~~·t<J;,ltlef,f\?l~~tl l r1~1$:I ~im not to trust
                               ~i~i}f.'. • • .• . .
       ,sq~~jij~;, ::~,~;J:)1.)\tli}:;':;,tJ1
        A~ij(~~f~.:~~ii~:.:~~;~{,°tt· .-
        '         ?r::~ . ·",i!l~r~: ·:? .· '/jf- :.\:                          I   ~;~:-   ·,   :!U)•;~\t -•-,_!                     :'           .>;: _<'\. /;:··-~~--~---·:·~-' ::        . ,. .        I          '              <




        Hesflii'isHabiii.cf[:bee:ause:.he:d idnt. listen.
            t         '[~i~: ,, , ; ff]~'I'f · •· ,,,'tf17'.' .. ... . .. 9:11 PM
            •    ·I           :~~~-•·i ~'.·•              -1_ • • ;;.           ·•\t-', \>                                                           : !•'j                 ,    ··'                                                          -~.;~:•~--.,

        N&~l~ak, ~,~odd~ntn video     and dont                                                                                                                                                                                                    f
        as,:1,:a.rr!H~t: gog(Jamnthing. ' 9:.11 PM                                                                                                                                                                                              •.
                ::,_.      '~\; .--.-~.:-.~~-                                               ..   (\            :::-:_                                             ~·;_          ...           :
        Co_n,act m~ When yqu_r done.
                                                     ·:              -'         ~-·,                                                                                        '           -.




                      ::.;,, ;.~.:.~> _·~ ··-: ·•                         ~~-        . :..,~         /~~ -- ~·                '                           ; ;, : ,.' .                                                       .           1-




        A,~j, if ¥our~,l!.,mb ,h,ugb. to try to come
        aft_ir,'~e/::~nl:~IJ.e off chance you in fact are
        a-f~·cfetal a,9-~J;l\, \r'1&~1t go to trial and I'll
                        " ··- .•                ..           '   •         • .              '    .            ~-(                                  ' -~          ! .4      J     ~           •
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        a federal agerit, we'll
                             go to tri81 and l'lf
        win.: And your name will· be on the docket
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        So dont you sa.y an,other·:;fuckingthing:to
       ·me
              :'·· . · ., ....•.. ;.::>:·:: ··':                                                             1:,::!_' •,                       ·... :, .·             .· .·.• ··. ·.. ,••.                      ·.   ·•·;~
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        do«~l'sr;i1;t;'rl~:t~~:~t~>.'T':~:;_~_Either you make th~
        videi{and.
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        YOQ"'~f~W~~~,~~(¥()~'.-e·gQnna say and
       ·dootiial<e.:?~lti~:,~id~t)J;:~n~tprove you1are a
        fedf'f".. '•                              t'.i,-~l'[·• ( "; 'r fi                                                               •·• : ·' · ··
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                           J·_'._·,   ~;;i·:<:~~-·.f~· ?(. -~·.1_.._:/;~,-;;'.·~-.. ~·:,·:~_ ,_;_;.:•_·:~\·:~.-··,:!.:,_ -,~         .1,.'i_.~.... :.   , ·:~.~-~·':,...        '        ' ,·

            You?ch:lnl m@~(li:•:t:o::RAqWI]f :I- .can. make
            ~i~,f>i~i~~{,~1,~ql½'!.~): J{'f . ·. ·. .•. ;\                                                                                                                  9:27 PM.
     #:(;_ . ·.. Jr '<t '\!~~•; :~:~; ' "\;
                  •-\'~ i.; • \' · ·;




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             t,tjpili)iltipp i~li"t;Js,f~l}f9 thE!'Ummah ... lt has
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                     yield.to expl~siv~;eg~ipmentgained. Not                                                                                                     ,
                     jusfthe ~m_oq~t ot:explosive you·•n have···_·~-:?/?--:
                     afterJts creation .but how Much that
                     specific-~tri9~rl~:-h~s-Jn.demplition·_·power. 1


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        striil.aui!.C:UQ9:{/~.:a~~yQt 2 s,ory if place
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        buiiclibg.~ ·\}i.[1i[ii, :tt:< , . ·. ·. ··. . · · . 9·2s PM
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    · . . .•.~i=i~f!~i'1!it~t:t~~,:~e.evidence of9:~·PM
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Case 3:19-cr-00218-HES-JRK Document 1-1 Filed 11/13/19 Page 39 of 44 PageID 90




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        Walaykum asalaam

        I'm at work ahki. Please be brief for now. I
        get off in two.: hours th-ough :
Case 3:19-cr-00218-HES-JRK Document 1-1 Filed 11/13/19 Page 40 of 44 PageID 91




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             asJNE! c.an:tf;rad adequate supplies based
             ori ·need and.i-surveUlance. For those on a
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             free ~ntl s~spected.to be undetected, you
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        Works fine a:oaPM-




        The best yie,d restflts in my opinior1 aref .~~~~
        tree·trunk\·~e:ar:.:9()01/sq'L1arEtfootroofn·-,· .                                                                                                         ···=---.,n.........,,

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        sh~Qlcj.~!,t·,tj~~PrlViMt for those scales, if
        YQ,Uil:la',/~,~~~ go,f~~ it1if ~ot, please just
        ap·A1'!,;;tibe :~~,1:(\0. $.¢il~ihe _yield amount.
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           ._· ··\~_y-il(f\. \: :·'.l)I).·t;)).· '\})~Uli L. :.;: . . .                                                                                        .

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        le~~Jj~;a.1.~jt::1~qre<k~rom th.e surface. it
        lol)k$fia,et$~;the itif-ormation should be
        acee'ptab'l~~;l6 uplQad :c·asually.
                ;     ~   .,   :                  ):          ·-::   -            ,       .   :                :      ;




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                                                                                                      r-,••C




                And how is it coming along?· J1:1a AM




        ve~hl l~o,.~~r9C)iij~Ift>, ask ~bout the work
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                contern oftfue.video.i, ·. ..
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         · Be sure to include ·{if you haven't finished
            it) that peop_le ,should make sure the
            product is thoroughly distilled and sifted,·
            if possible sift VERY.CARl:.FULLY, a .
         , ·~econdaryt~me and:make s~re its stor~d
            at an appropFiately ~erope.red area. 3:so PM::· ·~ ··.
           Best case,~~enario 1yve come. out with very
     ~     fine· prodUpt~i-;.tJ;~tI;t90.k~-a .cqnsiderable
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     - purity, YiE!Jt4: 1t~tff:li,~~f~ty of the product is .
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